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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §              Case No: 4:22-cv-01311
                                      §
      Plaintiff,                      §              PATENT CASE
                                      §
vs.                                   §
                                      §
AMCREST TECHNOLOGIES, LLC             §
                                      §
      Defendant.                      §
_____________________________________ §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Social Positioning Input Systems, LLC, and Defendant Amcrest Technologies,

LLC, by their respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counter-claims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




JOINT STIPULATION OF DISMISSAL                                                                  |1
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Dated: October 17, 2022.                Respectfully submitted,


                                        /s/Jay Johnson
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                                        ATTORNEYS FOR DEFENDANT

                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
October 17, 2022 and was served via CM/ECF on all counsel who are deemed to have consented
to electronic service.
                                         /s/Jay Johnson
                                         JAY JOHNSON




JOINT STIPULATION OF DISMISSAL                                                                |2
